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                           IN THE UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF ARKANSAS
                                  FAYETTEVILLE DIVISION


   UNITED STATES OF AMERICA

   v.                                                  Criminal No. 5:l5CR50092-00l

   JEFFERY ATKINS


                                 FINAL ORDER OF FORFEITURE

          On July 8, 2016, the Court entered a Preliminary Order of Forfeiture in this case in

   accordance with Fed.R.Crim. P. 32.2(b) (Doc.56). In the Preliminary Order of Forfeiture, a Smith

   & Wesson, model SW9VE, 9mm caliber pistol, serial number DWX0353, and any ammunition,

   were forfeited to the United States pursuant to 18 U.S.C. § 924(d) and Title 18 U.S.C. § 3665.

          The United States was required to publish notice of this order pursuant to Fed.R.Crim. P.

   32.2(b)(6) and 18 U.S.C. § 982(b)(l), incorporating by reference 2 l U.S.C. § 853(n)(l). On

   October 4, 2016, an attorney for the United States filed a Notice of Proof of Publication, showing

   that for 30 days, notice of the Court's Preliminary Order of Forfeiture was advertised on

   www.forfeiture.gov. Deadline for filing claims was August 31, 2016. No third party claims

   have been filed.

          Pursuant to Fed. R. Crim. P. 32.2(b)(4), a Preliminary Order of Forfeiture becomes final

   as to a defendant at sentencing.

          Accordingly it is hereby ORDERED, DECREED, AND ADJUDGED:
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           1. That based upon the guilty plea and the plea agreement of the parties, pursuant to Fed.

   R. Crim. P. 32.2(b)(4), the Preliminary Order of Forfeiture entered on July 8, 2016, shall become

   final at this time.                 J/t,
           IT IS SO ORDERED this     b-   day of _ ___-=-- - - - -
